Case 2:13-cr-06044-EFS   ECF No. 150   filed 12/18/13   PageID.613 Page 1 of 6
Case 2:13-cr-06044-EFS   ECF No. 150   filed 12/18/13   PageID.614 Page 2 of 6
Case 2:13-cr-06044-EFS   ECF No. 150   filed 12/18/13   PageID.615 Page 3 of 6
Case 2:13-cr-06044-EFS   ECF No. 150   filed 12/18/13   PageID.616 Page 4 of 6
Case 2:13-cr-06044-EFS   ECF No. 150   filed 12/18/13   PageID.617 Page 5 of 6
Case 2:13-cr-06044-EFS   ECF No. 150   filed 12/18/13   PageID.618 Page 6 of 6
